 Case 3:20-cv-01013-D-BT Document 25 Filed 10/19/20                  Page 1 of 2 PageID 113



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

JAMES GREGORY MORRIS,                             §
           Movant,                                §
                                                  §
v.                                                §   No. 3:20-cv-1013-D
                                                  §
UNITED STATES OF AMERICA,                         §
            Respondent.                           §

                                             ORDER

       After making an independent review of the pleadings, files, and records in this case, the

findings, conclusions, and recommendation of the United States Magistrate Judge dated September

29, 2020, and movant’s objections filed on October 8, 2020, the court finds that the findings and

recommendation of the magistrate judge are correct, and they are adopted as the findings,

conclusions, and recommendation of the court. Movant’s motion is therefore dismissed without

prejudice under Fed. R. Civ. P. 41(b) for failure to prosecute and to comply with court orders.

        Assuming, without deciding, that a certificate of appealability is necessary, the court,

considering the record in this case and pursuant to Fed. R. App. P. 22(b), Rule 11(a) of the Rules

Governing §§ 2254 and 2255 proceedings, and 28 U.S.C. § 2253(c), denies a certificate of

appealability. The court adopts and incorporates by reference the magistrate judge’s findings,

conclusions, and recommendation filed in this case in support of its finding that the movant has

failed to show (1) that reasonable jurists would find this court’s “assessment of the constitutional

claims debatable or wrong,” or (2) that reasonable jurists would find “it debatable whether the

petition states a valid claim of the denial of a constitutional right” and “debatable whether [this

court] was correct in its procedural ruling.” Slack v. McDaniel, 529 U.S.473, 484 (2000).
Case 3:20-cv-01013-D-BT Document 25 Filed 10/19/20             Page 2 of 2 PageID 114



    If movant files a notice of appeal,

    ( )    movant may proceed in forma pauperis on appeal.

    (X)    movant must pay the $505.00 appellate filing fee or submit a motion to proceed in

           forma pauperis.

    SO ORDERED.

    October 19, 2020.



                                          _________________________________
                                          SIDNEY A. FITZWATER
                                          SENIOR JUDGE
